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UNITED STATES DISTRICT COURT
DISTRICT OF NEW JERSEY

 

UNITED STATES OF AMERICA Mag. No. 22-11069
Vv. Hon. André M. Espinosa
HECTOR LUIS DE LA CRUZ NUNEZ, CRIMINAL COMPLAINT

a/k/a Edwin Antonio Nunez Velazquez, :
EMMANUEL F. ALMONTE MBuJIA,
EDISON SIME ACOSTA, and
LOANNY F, DURAN HICIANO

I, Joseph Czech, being duly sworn, state the following is true and correct
to the best of my knowledge and belief:

SEE ATTACHMENT A

I further state that I am a Task Force Officer with the United States
Department of Homeland Security, Homeland Security Investigations, and that
this Complaint is based on the following facts:

SEE ATTACHMENT B

Continued on the attached page and made a part hereof.

S| Joseph (zech
TFO Joseph Czech
Homeland Security Investigations

 

TFO Czech attested to this Complaint
by telephone pursuant to FRCP 4.1(b)(2)(A)
on March 9, 2022 in the District of New Jersey

All tll 6y—

HONORABLE ANDRE M. PINOSA
UNITED STATES MAGISTRATE JUDGE
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ATTACHMENT A

COUNT ONE
(Conspiracy to Distribute Controlled Substances)

From at least as early as in or around February 1, 2022 through on or
about March 8, 2022, in the District of New Jersey and elsewhere, the.
defendants,

HECTOR LUIS DE LA CRUZ NUNEZ,
a/k/a Edwin Antonio Nunez Velazquez,
EMMANUEL F. ALMONTE MEJIA,
EDISON SIME ACOSTA, and
LOANNY F. DURAN HICIANO,

did knowingly and intentionally conspire and agree with each other and others
to distribute and possess with intent to distribute 40 grams or more of a mixture
and substance containing a detectable amount of fentanyl, a Schedule II
controlled substance, and 100 grams or more of a mixture and substance
containing a detectable amount of heroin, a Schedule I controlled substance,
contrary to Title 21, United States Code, Sections 841(a)(1) and (b)(1)(B).

In violation of Title 21, United States Code, Section 846,
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ATTACHMENT B

I, Joseph Czech, am a Task Force Officer with the United States
Department of Homeland Security, Homeland Security Investigations. I am
fully familiar with the facts set forth herein based on my own investigation, my
conversations with other law enforcement officers, and my review of reports,
documents, and other items of evidence. Because this Complaint is being
submitted for a limited purpose, I have not set forth each and every fact that I
know concerning this investigation. Where statements of others are related
herein, they are related in substance and part. Where | assert that an event
took place on a particular date, I am asserting that it took place on or about the
date alleged.

L, Law enforcement has been investigating a drug trafficking
organization (the “DTO”) operating in New Jersey, New York, Pennsylvania, and
elsewhere. During the investigation, law enforcement determined that the DTO
runs production facilities, or “mills,” in which members work to package large
quantities of opioids for distribution. These drugs are then distributed in and
around the District of New Jersey. Law enforcement identified a residence in
the Eastern District of Pennsylvania (the “Mill”) as one such production facility,
and determined that once drugs are packaged for sale, a DTO member then
transports those drugs to the District of New Jersey.

2. The investigation further revealed that Hector Luis De La Cruz
Nunez, a/k/a “Edwin Antonio Nunez Velazquez” (“NUNEZ”), Emmanuel F.
Almonte Mejia (“ALMONTE”), Edison Sime Acosta (“SIME”) and Loanny F. Duran
Hiciano (“DURAN”) are all members of the DTO, and utilized the Mill in
furtherance of the DTO’s activities.

3. Over the past approximately eight days, law enforcement surveilling
the Mill observed individuals engaged in activities consistent with preparing the
Mill for a shipment of controlled substances. Based on my training and
experience, I know that when a heroin mill receives a large quantity of drugs, the
individuals involved in preparing these drugs for further distribution often work
long hours, rarely leaving the mill, and so those involved in the operation of the
mill often prepare by stocking the mill with food, beverages, and places for the
mill workers to sleep. Surveillance conducted over the aforementioned time
period revealed activity consistent with such preparations. For example, on or
about February 28, 2022, law enforcement observed two men arrive at the Mill
in a Toyota Sienna (the “Sienna”).! After conducting counter surveillance

 

1 Significantly, on or about March 3, 2022, NUNEZ and ALMONTE were stopped by law
enforcement, inside the Sienna, which is registered to Nunez. Prior to this stop, both

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measures, such as squaring the block numerous times, the men exited the
Sienna and carried numerous yellow plastic bags and cases of water from the
Sienna into the Mill. It took several trips and approximately ten minutes for the
men to unload these materials. Thus, based on my training and experience and
the investigation to date, I believe the men were stocking the Mill in anticipation
of using the Mill to package a large quantity of narcotics.

4. On or about March 4, 2022, through electronic surveillance, law
enforcement observed a man who matches the appearance of DURAN walk
towards the rear side door of the Mill, carrying a weighted black duffle bag (the
“Duffle Bag”). The Duffle Bag appeared heavy, and the man used one hand to
support the bottom of the bag. After he walked up the stairs towards the
entrance to the Mill, he placed the Duffle Bag on the railing as he waited to gain
entrance. Notably, as the Duffle Bag rested on the railing, it kept its squared-
off shape.

Bi, On or about March 8, 2022, a man, later identified as NUNEZ, exited
from the front side door of the Mill, carrying a blue colored bag close to his body
as he walked to a Chrysler (the “Chrysler”), which was parked nearby. NUNEZ
then entered the driver’s seat of the Chrysler, and remained within for several
minutes, prior to pulling away from the curb. Based on my training and
experience, and the investigation to date, I believe NUNEZ was attempting to
access a hidden compartment, or “trap,” within the Chrysler. Law enforcement
surveilled the Chrysler as it departed from the vicinity of the Mill. After driving
off, NUNEZ squared the block, which I recognize as a counter surveillance
measure, to determine if he was being followed. Approximately 15 minutes
later, NUNEZ returned, carrying what appeared to be an empty large, red duffle
bag into the Mill. Approximately 15 minutes after entering the Mill, NUNEZ left,
and reentered the Chrysler. He appeared to be carrying a weighted bag as he
entered the Chrysler. He departed, and law enforcement tracked and surveilled
the Chrysler as NUNEZ drove it into the District of New Jersey.

6. In or around Union County, New Jersey, law enforcement stopped
the Chrysler. NUNEZ consented to its search. Further, a canine trained in the
detection of controlled substances alerted to the presence of controlled
substances within the Chrysler. Pursuant to the search, officers discovered a
trap, and found approximately 400 bricks of suspected heroin and fentanyl
within, as depicted below:?

 

Nunez and Almonte had exited the Mill.

2A “brick” is approximately 50 individual doses, or glassines, of heroin, packaged
together for sale. An initial field test revealed that the bricks likely held heroin. A

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7. At around the same time as the stop of the Chrysler, officers
surveilling the Mill observed the Sienna back out of its garage, and depart. Law
enforcement stopped the Sienna and found that DURAN was the operator, and
that four other men, to include SIME, were within the Sienna. One of the men
(“Individual-1”) began to reach toward a yellow plastic bag that resembled the
bags that were carried into the Mill on or about February 28, 2022, as described
herein. Investigators seized the bag and found that it contained several
thousand dollars. A subsequent search of SIME revealed that SIME had in his
possession a plastic scooper that I recognized, based on my training and
experience, is commonly used by mill workers to insert small quantities of heroin
and fentanyl into individual glassines, for further distribution. Thus, based on
my training and experience and the investigation to date, I believe that DURAN
was attempting to transport mill workers, to include SIME, away from the Mill,
after the stop of Nunez.

8. Further, at around the same time as the stop of the Chrysler, officers
also observed ALMONTE exit the Mill. Law enforcement detained ALMONTE
and determined that he had the key to the Mill in his pocket, and also had in his
possession documents relating to utilities for the Mill, including a bill for the
utilities, which were in another individual’s name, as well as documentation
indicating that in or around October 2021, DURAN had applied for utility
services at the Mill.

 

subsequent field test was positive for both heroin and fentanyl.

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9. Law enforcement then sought a warrant to search the Mill.
Pursuant to that search, law enforcement determined that the Mill was being
used to package large quantities of narcotics for sale. To begin, virtually all the
windows were covered by what appeared to be black garbage bags, in an
apparent attempt to thwart surveillance. Further, law enforcement found large
quantities of cutting agents as well as blenders, plastic bags suitable for the
packaging of controlled substances, cleaning agents, to include bottles of
alcohol, that I recognize, based on my training and experience, can be used to
clean an area after it is used for the packaging of narcotics, and green plastic
wrap and magazines that matched the packaging of the drugs found within the
trap in the Chrysler, as described above. The Duffel Bag, now empty, was also
discovered therein.

10. Significantly, in the basement of the Mill, law enforcement
discovered a table that appeared to be used to package the narcotics. ‘This table
was in the same room as several of the cutting agents and other drug
paraphernalia. Seven chairs were found in a closet.
